  8:06-cr-00182-LSC-FG3        Doc # 42      Filed: 09/20/06    Page 1 of 1 - Page ID # 59




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )                   8:06CR182
       vs.                                      )
                                                )                    ORDER
LEOPOLDO MEJIA,                                 )
                                                )
                      Defendant.                )


       Defendant has filed a "Joint Motion for Continuance" of the September 26, 2006 trial
date (#39). The motion is not accompanied by the speedy trial waiver required by NECivR
12.1. Nor has the defendant shown good cause for a continuance. In reaching this
conclusion, I note that the defendant was already given a substantial continuance from
August 15, 2006 to September 26, 2006 to prepare for trial and/or conduct plea negotiations
and to accommodate defense counsel's vacation schedule.

       IT IS ORDERED that the Joint Motion for Continuance (#39) is denied.

        Pursuant to NECrimR 57.2, a party may appeal this order by filing a "Statement of
Appeal of Magistrate Judge's Order" within ten (10) days after being served with the order.
The party shall specifically state the order or portion thereof appealed from and the basis of
the appeal. The appealing party shall file contemporaneously with the statement of appeal a
brief setting forth the party's arguments that the magistrate judge's order is clearly erroneous
or contrary to law. The filing of a statement of appeal does not automatically stay the
magistrate judge's order pending appeal. See NECrimR 57.2(d).

       DATED September 20, 2006.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
